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         AVENTADOR

         Around May 2017, STEVERNER sent WILLIAMS an e-mail and asked for a contract
         template. WILLIAMS did not understand why STEVERNER wanted a template because
         anything to do with contracts needed to go through WILLIAMS. WILLIAMS told STEVERNER
FD-302a (Rev.Case
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Continuation of FD-302 of   (U) 12/10/2019_Gwen Williams             , On   12/10/2019   , Page   6 of 10




         where she could find templates on the LADWP system. A week or two later, STEVERNER
         said WRIGHT was going out of town and wanted to give PARADIS a $30 million sole
         source contracted and wanted it on the Board agenda in ten days. WILLIAMS asked for
         the scope of work and the purpose of the contract. STEVERNER said it was for the
         customer care and billing (“CC&B”) system. STEVERNER said WRIGHT wanted it done.
         WILLIAMS pushed back and said, “No, PARADIS was a lawyer and a contract that large
         sole source was not appropriate.”

         STEVERNER asked if the contract should go through WILLIAMS at which point WILLIAMS
         said no she was not responsible for contracts in the initial stages and the contract
         needed to go through staff.

         Around May 31, 2017, WILLIAMS received a proposal for the contract. The fees for the
         consultants were $400+ per hour. WILLIAMS thought this was outrageous. Sometimes a
         contract would be that high for an attorney doing legal work, but these rates were
         not in line for the scope of the work. WILLIAMS also did not understand the score of
         work. Information technology (“IT”) division was not involved and the contract was
         coming from WRIGHT, STEVERNER, and someone from legal directly. It did not make
         sense that a contract to work on an IT project (CC&B system) did not involve the IT
         division. WILLIAMS understood PARADIS wrote the contract and included whatever he
         wanted to include.

         WILLIAMS refused to have anything to do with the contract. WILLIAMS told her staff
         to take WILLIAMS’s name out of the approval system. WILLIAMS did not want the
         contract coming to WILLIAMS for approval. TANESHA SMITH was assigned the contract.
         WILLIAMS told SMITH she could sign-off on the contract if she was directed to and
         WILLIAMS would not fire SMITH because of it, but WILLIAMS did not support the
         contract and wanted nothing to do with it.

         WILLIAMS was so uncomfortable with the contract because she was already
         uncomfortable with the smart meter request from before. WILLIAMS found out that
         PARADIS was hired on a contingency fee basis for the PwC litigation. WILLIAMS did
         not think the City would win and the litigation would be dragged out forever.
         WILLIAMS did not understand why PARADIS was hired to begin with. It seemed WRIGHT
         wanted to find a way to get PARADIS money. WILLIAMS did not have an opinion as to
         why WRIGHT did this for PARADIS.

         WILLIAMS did not think the City should have sued PwC because the City seemed to be
         at fault for some of the issues with the new billing system. WRIGHT did not like
         anyone telling him no. WILLIAMS did not see PARADIS and WRIGHT together and did not
         know what type of relationship they had.

         WILLIAMS called Board Commissioner BILL FUNDERBURKE. It was one of the only times
FD-302a (Rev.Case
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         WILLIAMS ever contacted a Board Commissioner directly. WILLIAMS told FUNDERBURKE
         that a contract was coming through and WILLIAMS thought FUNDERBURKE should not sign
         off on the contract. FUNDERBURKE said it would not happen. WILLIAMS was careful not
         to every reach out to Board members, but because WRIGHT was steamrolling the
         contract through, WILLIAMS did not know what else to do.

         FUNDERBURKE said he did not think the contract would happen, but ended up approving
         the contract. WILLIAMS did not know who FUNDERBURKE spoke to before the vote, but it
         had to be someone that convinced him to approve the contract. WILLIAMS did not know
         FUNDERBURKE before he was appointed to the board. WILLIAMS became friendly with
         FUNDERBURKE because of the civil rights anniversary. FUNDERBURKE’s uncle was being
         recognized.

         At this time WILLIAMS decided to write a memo to document the situation because
         WILLIAMS felt so strongly that the contract and situation was not okay. Typically a
         small proposal was six to eight inches thick; the AVENTADOR proposal was not even
         close to this standard. WILLIAMS was appalled by the rates and the fact that the
         contract was sole source. WILLIAMS pulled the rates for ORACLE and other companies.
         The AVENTADOR rates were dramatically higher than other companies. PARADIS had no
         overhead because he was using LADWP’s office. WILLIAMS checked the address on the
         proposal and drove by the address to find it was a residential property.

         WILLIAMS was shocked that a brand new company formed that same year was being pushed
         through to receive a $30 million contract. Typically any contract for more than $5
         million, WILLIAMS would go through and research whether the company had the capacity
         to complete the work. NEIL GOGLIAN was the Chief Finance Officer for LADWP at the
         time. No type of vetting happened for AVENTADOR. In addition, for any contract over
         $25,000, the union had to sign off. DIEDRA FERNANDEZ worked for LADWP and was the
         liaison with the union. The union could “sit on something” for over two years if
         they wanted. WILLIAMS did not think the union ever signed off on the AVENTADOR
         contract which was required for a notice of compliance. The contract went through
         anyway. WRIGHT was not supposed to circumvent the union involvement, but WILLIAMS
         felt WRIGHT must have done something.

         WILLIAMS did not provide the memo to FUNDERBURKE or any Board members because this
         would have really been stepping out of line. There was no process to object a
         contract when something was inappropriate. CAMDEN COLLINS was the rate-payer
         advocate. COLLINS mentioned the rates were high, but said this was specialty work so
         it must be fine.

         WILLIAMS reached out to FUNDERBURKE around May 26, 2017. WILLIAMS did not discuss
         WRIGHT. WILLIAMS did not reach out to any other Board members. WILLIAMS did not
         think there was a specific rule, but it was an unwritten rule not to speak to Board
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         members directly.

         PARADIS’s proposal had no qualifications listed for the employees. There was no
         specific work to be completed. Every person listed was billed at full time. WILLIAMS
         had never seen a contract with these rates and with everyone full time. WILLIAMS was
         appalled.

         During the Board meeting, WILLIAMS sat in the front row. WRIGHT turned his chair to
         MEL LEVINE, Board President, and said, “I can give you the short version or the
         forty-five minute presentation.” LEVINE directed WRIGHT to provide the short
         version. WILLIAMS felt from that moment that the whole thing was “set up.” The Board
         voted unanimously for the contract. WILLIAMS was pissed, got up, and left the
         meeting. WILLIAMS never really spoke to FUNDERBURKE about the contract after the
         vote. FUNDERBURKE told WILLIAMS, “I know you are mad at me, but I tried to do
         something to make sure it was looked at by someone.” WILLIAMS did not understand why
         WRIGHT “steamrolled” this contract through.
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                              Exhibit 3
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                              Exhibit 4
To:        Wright, David[ Wright, David <David.Wright@ladwp.com>]; Stevener, Donna[ Stevener, Donna
             Case 2:21-cr-00559-SB Document 38-2 Filed 04/12/22 Page 84 of 114 Page ID #:313
 <Donna.Stevener@ladwp.com>]
Cc:        Carr, Louis[ Carr, Louis <Louis.Carr@ladwp.com>]; Townsend, Mark[ Townsend, Mark <Mark.Townsend@ladwp.com>];
Chang, Flora[ Chang, Flora <Flora.Chang@ladwp.com>]; Halberg, Terry[ Halberg, Terry <Terry.Halberg@ladwp.com>]; Hiyoshi,
Irene[ Hiyoshi, Irene <Irene.Hiyoshi@ladwp.com>]
From:      Botnick, Michael[Michael.Botnick@ladwp.com]
Sent:      Thur 6/8/2017 6:47:31 PM (UTC)
Subject: RE: Questions and Observations Regarding Aventador Solutions Project Management
Picture (Device Independent Bitmap) 1.jpg

David,

Thank your response, and sharing your perspective with me.

Regards,

Michael

Sr Information Systems Supervisor Los Angeles DWP
(213) 367-4370 [cid:image001.png@01D22929.A1A41A10] michael.botnick@ladwp.com<mailto:michael.botnick@ladwp.com>
"Well done is better than well said." -- Benjamin Franklin

Attorney Client Privileged Communication - Attorney Work Product - For Settlement Purposes Only


_____________________________________________
From: Wright, David
Sent: Wednesday, June 07, 2017 4:33 PM
To: Botnick, Michael; Stevener, Donna
Cc: Carr, Louis; Townsend, Mark; Chang, Flora; Halberg, Terry; Hiyoshi, Irene
Subject: RE: Questions and Observations Regarding Aventador Solutions Project Management


Michael,
This is in regards to your concerns regarding the Aventador contract.

It is our duty to our customers to fix the CC&B debacle and regain our customers' trust in the accuracy of their utility bills. We have started down
than path, but have several more years of effort until we can say that system, and the entire set of departmental operations around that system, are
working effectively. The efforts toward fixing CC&B over the last couple years related to the class action settlement process have primarily been on
the overbilling of customers.

During the last several years, a number of CC&B projects had to be delayed due to the settlement activities. The detailed list of delayed projects is
over 100 projects, some small, others large, and all important. These projects were grouped into ten separate summary items in the Agenda Report
and almost all need to be completed in the next three years in order to comply with orders from the independent Court Appointed Monitor as part of
the Class Action Lawsuit. While LADWP has excellent staff supporting CC&B, due to retirements and inability to hire quickly, our resources are
stretched very thin and won't be sufficiently replenished in the three years we have to meet the requirements of the settlement agreement. This
shortage of resources is especially true in the project management area where we are in the early stages of establishing a Program Management
Office (PMO) which already has two very large projects - Smart Grid and ERP Replacement - on their plate and a very small staff in place to support
these major projects. To stay on track with the court orders and to make sure we bill correctly going forward, we need to implement the long list of
CC&B projects and we need help from outside experts with both Oracle CC&B experience and specific knowledge of how LADWP has configured
the billing system.

Aventador provides both of these skillsets. While this company was formed only recently, the principals of the company have in fact been working
with our IT team on the CC&B remediation for over two years and have the knowledge and project management skills needed to assist us in this
important endeavor. They have a track record of success and timeliness in working with the Oracle team and in depth knowledge of LADWP's issues
related to CC&B. The use of experts should reduce risk surrounding these projects and provide an opportunity for employees to train under
experienced experts. It also provides learning time for our new PMO staff to develop their project management skills and work along the side of
experts in this area.

We did not recommend this path without a lot of thought and consideration of the pros, cons, risks and rewards, and we think this is the best and only
path to insure compliance with court timeframe and mandates, and gain back the trust of our customers. Also, it provides LADWP with the least
amount of risk related to the filing additional class action lawsuits against us from not fixing CC&B in a reasonable time frame. We were not on a
timeframe to fix the system before we brought in the outside contractor two years ago, and we can't meet the current timeframe without outside
contractors.

The Board meeting this morning was recorded, so you can hear further discussion I had with the Board of Commissioners and maybe gain more
understanding of our reasoning.
Sincerely,
David Wright Case 2:21-cr-00559-SB Document 38-2 Filed 04/12/22 Page 85 of 114 Page ID #:314
General Manager

_____________________________________________
From: Botnick, Michael
Sent: Tuesday, June 06, 2017 3:53 PM
To: Wright, David; Stevener, Donna
Cc: Carr, Louis; Townsend, Mark; Chang, Flora; Halberg, Terry; Hiyoshi, Irene
Subject: Questions and Observations Regarding Aventador Solutions Project Management


All,

I am writing this email on my own behalf. That said, there are multiple fellow employees concerned about this topic.

As a DWP veteran I have been in charge of the Departments Bill Print sub-system utilizing both TRES ('old CIS') and CCB. I am sensitive regarding
the scrutiny we DWP employees have been subjected to prior to our CCB project debacle. Post CCB has been untenable, but it seems, we are nearing
a time when settlement with our ratepayer citizens is in reach.

As a citizen, a ratepayer, and a DWP veteran, I was concerned on several levels to find out about the Aventador Utility Solutions contract.
*     I'm concerned we are outsourcing the Project Management of CCB remediation.
*     I'm concerned the contract is being awarded to a company with no track record I could find. The only reference available to me for Aventador
Utility Solutions, LLC shows the company existing for a three month period.
o      Is this the company we are awarding? If so, 3 months in business does not lend itself much time to develop a track record.

Overall I am concerned with three things:
*    Increasing rather than reducing the scrutiny the DWP is subjected to
*    Not responsibly utilizing the public's funds
*    Not furthering the careers of active employees

Respectfully,

Michael Botnick

P.S. Yes, I do realize, I am not privy to all the influences being exerted here. Please realize I am truly concerned about this Department, I am not
attempting to 'grandstand' or be flippant. I realize I am in no position to demand any response, I would however appreciate a response.


Sr Information Systems Supervisor Los Angeles DWP
(213) 367-4370 << OLE Object: Picture (Device Independent Bitmap) >> [cid:image001.png@01D22929.A1A41A10]
michael.botnick@ladwp.com<mailto:michael.botnick@ladwp.com>
"Well done is better than well said." -- Benjamin Franklin

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                              Exhibit 5
             [A/V Clip Lodged Manually]
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                                                                                          . . . Court of Ca\ifornia
                                                                                        Superior O·r· Los-Angeles
                                                                                           County •

                         1   Michael J. Libman (SBN 222353)                                    MAY O? 2017
                             LAW OFFICES OF MICHAEL J. LIBMAN                     . .     I R~CartekExe~utive0mcer/Clerk.
                        2    16133 Ventura Blvd., Suite 1200
                             Encino, California 91436                              '
                                                                                     Sherr · .                .-, oepuW
                         3   Telephone: (818) 995-7300                               By:--:-   Rita   za yan
                         4   Liaison. Counsel
                         5
                             Jack Landskroner (Admitted Pro Hae Vice)
                         6   LANDSKRONER GRIECO MERRIMAN, LLC
                             1360 West 9th Street, Suite 200
                         7   Cleveland, Ohio 44113           ·
                         8   Telephone: (216) 522-9000

                         9   Class Counsel

                        10
                                                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
                        11                         COUNTY OF LOS ANGELES, CENTRAL DISTRICT ··                B F
                        12
                                                                                                          .·· y. ax
                             ANTWON JONES, on behalf of himself, and          Case No. BC577267
                             all other similarly situated,
                        13                                                  [Related to Case Nos. BC565618 (Lead),
                                             Plaintiff,                   . BC568722, BC571664, and BC574690]
                        14                                                  [CLASS ACTION]
                        15           vs.
                                                                               DECLARATION OF THE.
                             CITY OF LOS ANGELES, by and through the           IND:EPENDENT CC&B SYSTEM
                        16                                                    .MONITOR IN SUPPORT-OF
                             Los Angeles Department of Water and Power
                             and DOES 1 through 50, inclusive,                 PLAINTIFF'S MOTION FOR FINAL
                        17                                                     APPROVAL
                        18                   Defendants.                       Hearing Date: July 7, 2017
                                                                               Time: 9:00 am
                        19                                                     Department: Dept. 323
                                                                               Judge: Hon.-Elihu M. Ber~e
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       ,,.-.;J.
       (=)                   DECLARATION OF THE IND~PEND~NT CC&B SYSTEM MONITOR IN SUPPORT OF PLAINTIFF'S
        •'•'t
                                                              MOTION FOR FINAL APPROVAL
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             DECLARATION OF THE INDEPENDENT CC&B SYSTEM MONITOR IN SUPPORT OF PLAINTIFF'S
                                      MOTION FOR FINAL APPROVAL




                                                                          BENDER_0077
                                       •                                               •
           Case 2:21-cr-00559-SB Document 38-2 Filed 04/12/22 Page 90 of 114 Page ID #:319




                  1            I, PAULL. BENDER,_declare the following under th~ penalty of perjury:
                 2             1.     I am over the ag_e of 18 and have personal knowledge of the facts set forth herein,
                 3    which are known to me to be true and correct. I could and would testify competently about the
                 4 matters set forth herein if called upon to do so ..
                  5            2.     On December 21, 2015, I was appointed as the Independent CC&B System
                 6    Monitoring Expert ("Independent Monitor'') in this litigation.
                 7.            3.     On or about July 14, 2016, I provided the Court with my Report Concerning
                  8   Status·ofClass Action Settlement for the First and Second Quarters of 2016, which is set forth in
                 9    Section I below.
                10             4.     On or abou\ November 10, 2016 I provided the Court with the Supplemental
                 11   Declaration of the Independent CC&B System Monitor In Further Support of Plaintiff's Motion
                 12 for Preliminary Approval of the Settlement reflected in the Revised Class Action Settlement
                 13   Agreement and Limited Rele~e dated November 9, 2016 (the "Settlement'' and "R~vised
                14    Settlement Agreement," respectively), which is set forth in Section Il below.
                15             5.     I now. respectfully submit this Declaration in Support of Plaintiff's Motion for·
                16    Final Approval of the Settlement as reflected in the Revised Settlement Agreement. For the
                17    Court's convenience, detailed in Section ID below are the activities that my team has undertaken
                 18   during the fourth quarter of 2016 and first quarter of 2017.
                19             6. ·   Finally, detailed in Section IV below is my assessment of the anticipated future
                20    work items required. to be performed to comply with the terms of the Settlement and certain
                21    risks that could impact upon LADWP's ability to timely complete these work items.
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       1    I.     SUMMARY OF REMEDIATION WORK PERFORMED.
                   DURING FIRST AND SECOND QUARTER OF 2016
       2
       3    Summary ofCC&B System Remediation Work
            Performed During December 21, 2015 - April 8, 2016 Period
       4
       5           7.      As detailed in my Declarations-of April 8, 2_016 and November 10, 2016, during
       6. the firsfand second quarters of 2016, I, along with my colleagues, Mr. Osman Ahmad and Mr.
       7    Siva Thoppe, ·each personally conducted on-site visits at LADWP on January 5-6th , Janwey 14th,
       8    February 8th , February 21 st, March 8th , March l6-18 th. and March 22-23r\ 2016. In addition to the·
       9    aforementioned site-visits, during the December 21, 2015 - April 8, 2016 period, my colleagues
      10    and I also conducted weekly Friday morning confere~ce _calls with LADWP personnel for the
      11    purpose of monitoring and discussing the . status of various work items being undertaken to .
      12 ·implement the terms of the Settlement.

      13           8.      During the December 21, 2015 - April 8, 2016 period, these numerous site visits
      14    and weekly conference calls enabled my colleagues and me to:

      15                   a.      obtain and undertake to evaluate the internal protocols, SQL Queries and

      16    specific methodologies LAD WP used to identify all Class and Subclass members and to calculate ·

      17    damages owed to all such Class and Subclass members;
                            b.     review and initiate validation of the LADWP's:
      18
                                   (i)     proposed SQL scripts to verify and ensure- the corr.ectness of Class .
      19
                                           and Subclass identification code;
      20
    .. 21                          (ii)    methodology used to determine the amount of refund/credit for
                                           each Class ·and Subclass member to ensure that the methodology is
      22
                                           correct for purposes of making Class members 100% whole; and
      23
                                   (iii)   testing methodology and test scripts and to sample and verify test
      24
                                           results for accuracy ..
      25
                    9.     During the· December 21, 2015 - April 8, 2016 period, my colleagues and I were
      26
            also engaged in monitoring and verifying the: (i) operational activities supporting the achievement
      27
            of the Customer Service Performance Metrics required by the Settlement; and (ii) methodologies
      28            .                                    4

            DECLARATION OF THE INDEPENDENT CC&B SYSTEM MONITOR IN SUPPORT OF PLAINTIFF'S
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                     1   employed to calculate the Customer Service Performance Metrics specified in the· Revised
                    2    Settlement Agreement    are reasonable and accurat~.
                     3           10.      As explained in my Declaration of April       8, 2016, LADWP has provided my team
                     4   and me with unfettered access to necessary data, information and personnel.       Class Counsel and
                     5   Counsel forLADWP have also worked cooperatively with my team to facilitate our efforts.
                     6           11.      In early April 2016, I determined that it was necessary for my team to add
                     7   additional human resources and to request that the Court provide additional time to perform the
                     8 ·work required of the Independent Monitor under the Settlement.
                     9           12.      On or about April 4, 2016, I met. and conferred with counsel for the Parties to
                   10    inform them that my team would be providing additional human resources to work on this
                    11   Independent Monitoring assignment and asked the Parties to request that the Court continue the
                                                        .                           .
                                                    .                           .
                    12   hearing on Plaintiff's Motion for Preliminary Approval until July 29, 2016.
                    13           13.      Subsequent to that meeting, Class Counsel informed me that the Court had
                   11    continued the hearing on Plaintiff's Motion for Preliminary Approvai to July 29, 2016.
                   15
                                       A. Summary of Review and Validation Activities .
                   16                     Performed by Independent Monitor On CC&B
                    17                    System Remediation Project During
                                                  th
                                          April 12 - April 29th LADWP Site Visit
                   18
                                 14.      During the numerous one arid two day-site visits, document review and analysis
                    19
                         sessions, and weekly conference calls my team conducted with LADWP's personnel, Class
                   20
                         Counsel and LADWP's Counsel throughout the December 21, 2015 - April 8, 2016 period, my
                   21
                         colleagues and I surfaced a wide range of issues we had identified with the remediation team
                   22
                         participants.
                   23
                                 15.      While all remediation ·team participants were cooperative and_ provided the
                   24
                         information requested by my team, by early April 2016, I formed the opinion that the. sheer
                   25
                         volume of information that my team needed to review and carefully analyze in o~der to properly
                   26
                         discharge my duties as the Court-appointed ln~pendent Monitor necessitated an extended site
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     ·1    visit to LAD.WP by my team for a period of at least two weeks. Accordingly, an extended site
      2    visit was scheduled for April 12th -April 29th, 2016.
      3            16.     During the extended site visit, my team was primarily engaged in two specific
       4   types of activities. The first activity involved continuing to work with the remediation team and_
       5   the second activity involved performing a_ detailed review of the_ systems, methodology and
      6    practices used to bill LADWP's largest customers.
      7            17.     The ongoing work with the remediation team involved meeting with LAD WP IT
       8   professionals, Class Coup.sel and LADWP's Counsel.. During these meetings, the mechanisms
       9   LADWP used for identifying accounts that had been overcharged were discussed and my team
     10 · devoted significant amounts pf time to confirm that the mechanisms LADWP used were accurate
      11   and reliable.
     12            18.     During the course of our discussions, my team made several suggestions
      13 · concerning the ways in which the. mechanisms LADWP used for identifying accounts that had.
     14    been overcharged could be further enhanced to improve the accuracy of these mechariisms. ·
     -15   LADWP's IT professionals implemented the suggestions my team made and performed.
     16    additional analyses, which'included fine tuning and performing additional runs of the Structured
     17    Query Lar,.guage ("SQL") queries that had been used to identify Class members. On doing so,
     18    the LADWP identified a small number of additional customers who had been overcharged (but
     19    who had not previously been identified by LADWP) and they confirmed. that the additional
     20    amount of refunds to be provided to Class members as of that point in time would increase by at
     21    least $5.4 million dollars.
     22         · 19.      Based on these results, my team continued to work closely with LADWP IT
     23    professionals to verify the accuracy of the hundreds of additional SQL que~es that were
     24    programmed and run to identify other LADWP customers who were overcharged,
     25            20.     My team's second area of focus during the extended on-site visit to LADWP in
     26    April 2016 involved performing a detailed review of the billing methodology and.practices used
     27    to bill ·LADWP's largest customers. While these very large customers are also billed by the.
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           DECLARATION OF THE INDEPENDENT CC&B SYSTEM MONITOR IN SUPPORT OF PLAINTIFF'S ·
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                 1   LADWP's CC&B System, the billing process is initiated by the LADWP's MV-PBS System,
                 2   rather than ~e CC&B System itself. Specifically, the MV-PBS System calculates and generates·
                 3   an invoice for the service(s) the customer uses and the ·cc&B System gei:ierates a bill, tracking
                 4   the invoice, to issue to the customer. As a result, in order to attest to the accuracy of the CC&B
                 5   bills for these very large customers? it was necessary for my team to perform additional reviews
                 6   of the MV-PBS System.
                 7          21.     This additional work included, but was not limited to, my team performing the
                 8   following tasks:
                 9                  •       Determining if all MV-PBS customer accounts were billed by CC&B
                                                                          .                     .  .

                10                  •       Determining if each MV-PBS customer account was on the correct rate
                                    •       Determining if the MV-PBS invoices were accurately calculated
                l1
                            22.     At the conclusion of my team's extended site visit to LADWP.during the April
                12
                     12th through April 29 th, 2016, time period, I formed the opinion that the Scope of Work and then-
                13
                     current schedule would need to be significantly revised in order to permit LAD WP to undertake
                14
                     the necessary remediation, testing, and implementation work, and for my team to perform the
                15
                     various verification tasks and data analyses required to ensure that LADWP's mechanisms arid
                16
                     methodologies are working as intended.
                17
                            23.     At this time, I also formed the opinion that the risk that LADWP's largest
                18
                     customers mi~t be inc,orrectly billed because LAD WP is using two billing ·systems to generate
                19
                     and process bills for these large customers could be substantially mitigated because 1) the
                20
                     LADWP's CC&a System, if correctly programmed, has the ability to bill inost, if not all, of
                21
                     these large accounts without LADWP having to utilize the MV-PBS System, and 2) LADWP ·
                22
                     can implement certain internal control processes and organizational restructurings to
                23                                .                                                                   .
                     significantly strengthen the reliability, accuracy and completeness of the account billings now
                24
                     initiated in the MV-PBS system.
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                 l                  B. Revised.Scope of Work and Schedule
                                       Proposed by Independent Monitor Following_
                 2                     April 2016 Extended Site Visit to LADWP
                 3.
                              24.      Following the April 2016 extended site visit to LADWP, I met and conferred with
                 4
                       Class Counsel and Counsel for LADWP and informed them of these and other opin1ons that my
                 5
                      · team had formed during the April 2016 extended site visit. During these discussions, I also
                 6
                       informed Class Counsel and Counsel for LAD WP of my opinion that the risk of incorrect billing
                 7
                       to large customers could be mitigated by eliminating the MV-PBS, System from the large
                 8
                       customer billin~ process, and by implementing certain. new internal control processes and
                 9
                       organizational restructurings.    Given the additional work and rigorous testing that will be
                10
                       required in conjunction with this migration. I informed the Court, Class Counsel and Counsel for
                11
                       LADWP that it is my opinion that the migration from the MV-PBS System to the CC&B System
                12
                       cannot be accomplished until at.least mid-2017.
                13
                              25.      Following the April 2016 extended site visit, I also informed Counsel for the
                14
                       Parties. of my opinion that the Scope of Work and then-current schedule would need to be
                15
                       significantly revised for LADWP to undertake the !idditional required remediation, testing, and
                16
                       implementation activities, and for my team to: (i) perform the various verification tasks and data
                17
                       analyses required to ensure that the mechanisms and methodologies LADWP is utilizing are
                 18
                       accurate and reliable; and (ii) work closely with LADWP IT Professionals to ensure that the
                 19
                       Settlement's goal of refunding 100% of all overcharges to LAD WP customers is achieved.
                        .                     .
                20
                              26.      After the April extended site visit to LADWP, my team and I continued to·worlc
                21
                       closely
                          .            . Counsel,
                               with Class .
                                                  LADWP personnel and counsel for the LADWP and conducted site
                22
                       visits to LADWP on April 26 thru M~y 7; May 1.6-19; June 7~10; June 13-15; and July 6-8 and also
                23
                       continued to conduct weekly conference calls: During these site visits and. conference cal.ls, my
                24
                       team and!:
                25
                              •     Provided inputs to identify several items where customers were overbilled
                26
                              •     Provided guidance to prioritize analysis items, helping to allocate limited resources
                27
                                    more effectively
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               1            •      Reviewed interim analysis results, and providing feedback where appropriate
               2            •      Reviewed project plan ·
               3            •      Provided feedback on ~everal items not captured in the project plan
               4            • · Reviewed solar billing issues in detail
               5            27.       Based on the work that my team and I performed through the end of the.Second
               6   Quarter.2016, it was my opinion that LADWP required significantly ~ore time to undertake the
               7   remediation, testing, and implementation activities required to ensure compliance. with the .
               8   monetary relief provisions of the Settlement. Consequently, the duration of the independent ·
               9   monitoring project also need~ to be extended so that the in_dependent monitoring activities
              10   coultl be performed through the end ·of the Remediation Period      as required by the Settlement:
              11            28..      The initial Scope of Work for the Independen,t Monitoring project contemplated
              12   an 18-month independent monitoring project duration and approximately 2,000 hours of work by
              13   my team, through the then-projected end of the Remediation Period. At the conclusion of the
              14   extended site visit in April 2016, i informed Counsel for the Parties that the Scope·of Work for
              15. .the Independent Monitoring team would rieed to be revised to allow for a 42 month independent
                        .                              .             .
              16   monitoring project duration and· approximately 6,500 hours of work by my ~am, so that we
              17   could continue to work through the end of the Remediation Period, to:. (i) perform the various
              18   verification tasks and data analyses required to ensure that the mechanisms and methodologies
                                                                         .                                              .
              19   being utilized by the LADWP are accurate and reliable; and (ii) work closely with LADWP IT
              20   professionals to ensure that the Settlement's goal of refunding 100% of all. overcharges to
              21   LAD WP customers is achieved.
              22            29.       After a series of extended discussions that occurred over the next several weeks in
              23   May and June 2016, Class Counsel negotiated an agreement with counsel for LADWP that,
              24   subject to Court and LADWP Board approval, resulted in the LADWP consenting to revise the
              25   Scope of Work to allow for · a 42-mortth independent monitoring. project duration and
              26   approximately 6,500 hours of work by my team.
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                   DECLARATION Of THE INDEPENDENT CC&B SYSTEM MONITOR IN.SUPPORT OF PLAINTIFF'S
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                 1    II.      SUMMARY OF REMEDIATION-WORK
                               PERFORMED DURING THIRD QUARTER OF 2016
                 2

                 3                    A. Summary ofCC&B System Remediation Work
                                      · Performed During the July 1, 2016 - November 9, 2016 Period
                 4
                            . · 30.     During the third quarter of 2016, my colleagues and I personally conducted on-
                 5
                      site visits at LADWP on July 5-ih, August 3_5th. August 24-26th, September 13~15 th , September
                 6
                      22nd and September 27-291\ 2016. Class Counsel attended and participated in°:i:hese site visits~
                 7
                      part of the confirmatory discovery process. In addition to the aforementioned site visits, during the
                 8
                      third quarter of 2016 we also conducted weekly Friday morning conference calls with Class
                 9
                      Counsel, LADWP personnel and LADWP's counsel for the purpose of monitoring and discussing
                10
                      the status of various work items. being undertaken to · implement the. terms of the Revised
                11
                      Settlement Agreement.
                12
                               31.      During the period July I_ through late October, 2016, my team and I worked·
                13
                      closely with Class Counsel, LADWP officials and counsel for the City and LADWP to review
                14
                      and verify the accuracy of the Class. member identification methodology utilized to identify
               · 15
                      Class and Subclass members by reviewing and testing the accuracy of the SQL Queries executed
                16
                      by the LADWP against the LADWP's CC&B database to identify customers who satisfy the
                17
                      criteria for inclusion in one or more of the defined subclasses.
                18
                               32.      In addition to the foregoing activities, during this period, my team and I fulfilled.
                19
                      the responsibilities as the Independent Monitor in this litigation by:
                20
                                        a.     obtainiµg and evalu_ating the internal protocols; SQL Queries and specific
                21
                      methodologies used by LADWP to identify all Class and Subclass members and to calculate
                22
                      damages owed to all such Class and Subclass members;
               23
                                        b.     reviewing and validating that the metho~ology used by the LADWP to ·
               24
                      determine ~e amount of refund/credit for Class and Subclass members is correct for purposes of
               25
                      making Class.members 100% whole and is therefore fair and reasonable to such Class members;
               26
                                        c.     reviewing and.validating the LADWP's testing methodology, test scripts
               27
                      and sampling ·and verifying test results for accuracy;
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<:)                   DECLARATION OF THE INDEPENDENT CC&B SYSTEM MONITOR IN SUPPORT OF PLAINTIFF'S
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       1                    d.       reviewing the conclusions reached by LADWP on issues related directly
       2    to the settlement; and
       3                    e.       monitoring and verifying that changes to Rule 17 of the LADWP Rules
       4    Goveming•Water and Electric Service are properly.implemented.
       5           33.      By early July 2016, the LADWP had already acknowledged that there was an
       6    additional $5.4 million ll?- credits or refunds due to Class Members beyond the initial estimate of
       7. $44 million in refunds and credits identified to the Court a~ the December 21, 2015 hearing. ·
       8           34.      Because I reasonably believed that additional refunds and credits - as well as Class
       9    Me~bers - were likely to be identified if the Parties were permitted additional time to work closely
      10 ·with my team, I respectfully requested that the Parties ask the Comt to permit the· Parties until ·
      11    November 18, 20l6 to complete all of the programming and testing necessary to confirm the
      12    accuracy of the mechanisms utilized by the LADWP to: (i) identify customers who hi;we been
      13    overcharged; and (ii) quantify the amounts of such over charges.
      14           35.      In mid-July 2016, the Parties jointly requested that the Court continue the hearing
      15 · on Plaintiff's Motion for Preliminary Approvai until November 18, 2016. The Court subsequently
      16    granted the Parties' request. Thereafter, the LADWP Board approved a Board resolution revising
      17    the initial Scope of Work to allow for a 42-month independent monitoring project duration and
     . 18   approximately 6,500 hours of work by my team.
      19           36.      ·Because the Court permitted the Parties until November 2016 to complete all of the
      20    programming and testing necessary to confirm the accuracy of the mechanisms utilized by the
      21    LADWP to: (i) identify customers who have been overcharged; and (ii) quantify the amounts of
      22    such over charges -- and because the parties have worked in a highly cooperative and diligent
    · 23    manner under the watchful eye of my independent monitoring team, the LADWP has now
      24    identified additional credits_and refunds totaling approximately $22.8 million dollars·beyond the
      25    initial estimate of $44. 7 million_ in refunds and credits identified to the Court at the December 21,
      26.   2015 hearing.
      27
      28
                                                             11

            DECLARATION OF THE INDEPENDENT CC&B SYSTEM MONITOR IN SUPPORT OF PLAINTIFF'S
                                    MOTION FOR FINAL APPROVAL




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       1           37. · AB a result, if the Settlement reflected in the Revised Settlement Agreement is

       2    finally approved, a minimum of $67.5 million dollars in refunds and credits will be paid to Class

       3    Members and the total amount ofrefunds and credits to be paid to Class members is also expected

       4    to increase once ongoing fieldwork investigations are completed.       In addition, the Revised
       5    Settlement Agreement also requires that the LADWP expend an additional $20 million over the

       6    "eighteen-month CC&B System Remediation Period . ·.. to retain CC&B System consultants and

       7    softwru-e engineering consultants . . . to assist the· LAD WP in remediating and stabilizing the

       8    LADWP's .CC&B System to ensure that the CC&B System generates and delivers timely and

       9    accurate customer bills."

      10           38.     Throughout the July through Noverpber 2016 time period, Class Counsel spent

      11    considerable time assisting Class members in the identification of customer billing issues. As we

      12 . progressed through the monitoring ·process, Class Counsel requested that my team direct additional

      13    attention to. the Tiger Team. 'After my team and I spent time speaking .with Class CotmSel and

      14    LADWP officials, it was determined that the interests of the.Class would be best served ifmy team

      15    and I would devote additional resources to the implementation and oversight of the Tiger Team's

     . 16   processes and operations. Accordingly, I added an additional team member who has been charged .

      17    with aiding Class Counsel and LADWP personnel in creating, implementing and operating the ·

      18    LADWP Tiger Team on a daily basis. Based on our work, I have confinned that the LAD WP has

      19    satisfied the Settlement requirement that the Tiger Team be "fully staffed within 60 days of the

      20    Settlement being preliminarily approved by the Court'' on December 30, 2.016.

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            DECLARATION OF THE INDEPENDENT CC&B SYSTEM MONITOR IN SUPPORT OF PLAINTIFF'S
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       1   m.      SUMMARY OF REMEDIATION WORK
                   PERFORMED DURING THE FOURTH QUARTER
       2           of 2016 AND THE FIRST QUARTER OF 2017
       3                                             ..
                         A. Summary of C~&B System Remediation
       4                 . Work Performed During the Fourth Quarter
                            of2016 and First.Quarter of 2017
       5
       6           39.      As part of my duties and responsibilities as the Independent Monitor, I personally
       7   conducted oi:i-site visits at LADWP ori October 17-21s1, October 23-28th , November 6-8th,
       8   November 15-18th and December 13-16th, 2016 and on January 9-13"1, January 17-20tb., January 25-
       9   27th, Februacy 1-3n\ February 8-lOt\February 14-li\ February 21-241'\ February 27"\ Marchl-
           3ni, Ma:rch 7-lOth, Marc~ 13-171'\ March 20-24th and March 21-31 st, 2017. Class Counsel attended
      11 · and participated in these site visits as part of the confirmatory discovery process. In addition to the

      12   aforementioned site visits, during the fourth ·quarter of 2016 and first quarter of 2017, we also

      13   conducted weekly, Friday morning conference calls with Class Counsel, LAD.WP personnel and
                                i           .


      14   co~el for LAD WP for the purpose of monitoring and discussing the status of various work items

      15   being undertalcen to implement the terms of the Revised Settlement Agreement.

      16          •40.      After the Court had preliminarily approved the proposed S.ettlement on December
      1r   30, 2016 and as the deadline for the issuance Class Notice drew nein-, Class Counsel requested that
      18   my team and I expand the scope of our work involving monitoring of the claims administration
      19   process in order to assure the intent of the Settlement is fully achieved. After discussion with Class
      20   Counsel, LADWP officials. and LADWP's counsel, the LADWP agreed to allow my team to
      21   expand our monitoring role accordingly.

      22           41.      In addition, during the fourth quarter of 2016 and first quarter of 2017, Class
      ~3   Counsel requested that we devote additional time working with LADWP officials to monitor and
      24   assess the manner in which:
      25                    a       the Claims Administrator was developing, programming and testing the claim
      26                            portal that would be used to transmit claims and supporting documentation to
      27                            the LADWP for further processing;

      28
                                                               13

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                  1                   b.     the Claims Administrator developed and implemented the Claims Process
                  2                         itself. This included analyzing and providing recommendations concerning
                  3                         plan inputs, key-activities, the schedule and accountable resources;
                  4                   c. the Claims Administrator designed and programmed the website dedicated to
                  5                         the claims resolution process in this litigation;
                 .6                   d. · the LADWP Tiger Team was created and staffed and the manner in which the
                  7·                        Tiger Team is receiving, processing and resolving claims;
                  8                   e. the Claims Administrator Class Notice and Claims Letter h!ifidling procedures
                  9                         were developed, implemented and tested;
                 10                   f. the LADWP claims processing and resolution procedures were developed,
                 11                        · implemented, tested and audited;
                 12.                  g. the LAD WP organized and staffed the Claims Processing Team;
                 13                   h. the LADWP is processing claims; including, but not limited to, solar claims;
                 14                         and
                 15                   i.    the Claims Administrator and LADWP developed and implemented
                 16                         communications protocols between themselves and with Class members and
                 17                         claimants. ·
                 18           42.     Following extensive discussions, my team and I worked closely with Class
                 19    Counsel, LADWP officials, LADWP's counsel and the Claims Administrator to assess and
                 20    monitor the manner in which the LADWP and Claims Administrator were working to address
                 21    numerous issues related to the Settlement, including, but not limited to, those issues set forth in
                 22    the foregoing paragraph.. ·
                 23           43.     In addition.to the foregoing, I and several members of my team, along with Class
                 24    Counsel, LADWP ~ffici~s, counsel for LADWP. and employees of the Claims Administrator
                 25    traveled to the Claims Administrator's Call Center located in Louisville, Kentucky where we
                 26 .conducted a two day site inspection. Following the site visit, and after consultation with Class
                 27    Counsel, LADWP officials and counsel for LADWP my teain made the decision to deploy one
                 28
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(:)                    DECLARATION OF THE INDEPENDENT CC&B SYSTEM MONITOR IN SUPPORT OF PLAINTIFF'S ·
                                                MOTION FOR FINAL APPROVAL
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                    1 of my team members at the Claims Ad.tµinistrator's Call Center on an ongoing basis to ensure .
                    2   that call handling procedures are· being adhered to and that claimants' calls are_ timely and

                    3 properly handled and that any Call Center related issues that develop are promptly escalated for
                    4   appropriate resolution.

                    5             44.      My team and I     are   continuing to take a very active role in the Claims
                              .                                                           .
                    6   Administration process to ensure that this work is - and will continue to be - performed in
                    7   accordance with the requirements of the Revised Settlement Agreement and I anticipate that my
                    8   next quarterly report to the Court will provide detailed information concerning the status of the

                    9   claims process.

                   10

                   11   IV.       ANTICIP ATEI) FUTURE WORK ITEMS and RISKS
                                  TO THE IMPLEMENTATION OF THE SETTLEMENT
                   12
                   13
                                  45.     Although· I will continue to provide quarterly reports to the Court in my role   as
                        Independent Monitor, at this juncture in the litigation, I believe it is appropriate to provide the
                   14
                        Court with. my assessment of: (i) the anticipated future work items reg_uired to be performed by
                   15
                        the LAD WP to comply with the terms of the Settlement; and (ii) certain risks that could impact
                   16
                        upon LADWP's ability to timely complete these work items.
                   17
                                  46.     First, there remain. numerous work items .that must be .timely and accurately
                   18
                        completed by _the LADWP over the course of the next 18-36 month period in order for the
                   19
                        LADWP to satisfy numerous requirements of the Settlement.
                   20
                                  47.     Although the current General Manager has, in my professional opinion,
                   21
                        performed (and continues to perform) in a highly commendable manner, this General Manager
                   22
                        inherited an organization that had been managed in an extremely poorly manner over a period of
                   23
                        several years before the current General Manager assumed day-to-day responsibility over
                   24
                        LADWP.          AJ3 a result, the current General Manager faces numerous challenges. First, the
                   25
                        LADWP is grossly understaffed in the Information Technology area'.·             Compounding this
                   26                                                             -
                        challenge is the difficulty that LADWP faces in hiring additional IT personnel based on the
                   27
                        current salary structure applicable to the IT Department, which is well below market.
                   28
r··. ~.                                                             15
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 .~-'!.                 DECLARATION OF THE INDEPENDENT CC&B SYSTEM MONITOR IN SUPPORT OF PLAINTIFF'S
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                 1   Additionally, the LADWP lacks well-quali,fied IT project management personnel and the
                 2   Department therefore lacks the capability required to sucqessfully manage very large scale IT
                 3   implementation projects. Because the Department lack these internal resources, it must procure
                 4   such services on a contracted basis and, in the past, has often failed to do so.
                 5          48.          Another very serious challenge facing the current General Manager is the sheer
                 6   number of IT related work items that must be completed for the LADWP to comply with the
                 7 terms of the Settlement and to allow the LADWP to generate customer bills that are both timely
                 8   and accurate. The following is a non-exhaustive list of such work items and is meant only to
                 9   illustrate ·for the Court the number of highly complex tasks that the LADWP must successfully
                10   complete in the next 18-26 months:
                11                  a      timely completion o:t'Settlement mandated CC&B remediation work plan;.
                12                  b. achieve compliance with Settlement mandated. operating and billing metrics;
                13
                                    c.     achieve compliance with Mayor's "Customer Bill of Rights";
                14
                                    .d. complete migrations of all accounts from MV.,.PBS System/Rates Group to
                15
                                        . CC&B Billing System/Billing Unit;
                16
                                    e. timely and accurate. programming of CC&B Billing · System to reflect
                17                     Quarterly Rate Factor Adjustments;
                18
                                    f. complete programming of CC&B Billing System to provide changes required
                19                     for LADWP Water Bonding/Securitization Project;

                20                  g. complete programming of CC&B Billing .System to provide for monthly ·
                                       customer billing; ·      ·
                21
                22                  h. complete CC&B disaster recovery site testing;
                23                  i.     complete CC&B System version upgrade; and
                24
                                    J.     complete· programming for AMI/Smart Grid "Meter Data Management"
                25                         ('.MDM") System ..
                26          49.     Further compounding the already formidable challenges facing the LADWP and
                27   current General Manager is the loss of very senior management personnel in the IT Department
                28
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       1    and Customer Billing Unit due to numerous recent reiirements. The loss of numerous senior

       2    managers, combined with an inability to rapidly replace these managers has resulted in a drastic ·
       3·   loss of institutional knowledge that has only intensified the challenges th~ LADWP is facing.

       4           50. . Based on my more than 30 years of experience in the utili_ty industry, the recent ·

       5    coalescence of these factors has greatly intensified_ the difficulties that the LADWP !).Ild the

       6    current General Manager face in achieving they requirement of the Settlement.
       7           51.     In the course of the coming quarters, my team and I will continue to closely
       8    monitor the LADWP's progress toward meeting these requirements and will report our findings
       9    to the Court on a quarterly basis.
      10
      11            I declare under penalty of perjury under the laws ·of the United States and the State of

      12    California that the foregoing is true and correct.
      13
      14    Executed this 5th day of May 2017, at Los Angeles, California. ~
      15
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      18                                                                   Paul L. Bender
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            DECLARATION OF THE INDEPENDENT CC&B SYSTEM MONITOR IN SUPPORT OF PLAINTIFF'S
                                     MOTION FOR FINAL APPROVAL




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                                                    ELECTRONIC PROOF OF SERVICE

                    2
                        STATE OF OHIO, COUNTY OF CUYAHOGA
                    3

                    4         I am a paralegal with Landskroner Grieco Merriman, LLC in the County of Cuyahoga., State of
                      Ohio. I am over the age of 18 and not a party to the within action. My business address is 1360 West
                    5 9th Street, Suite 200, Cleveland, OH 44113.

                    6           On May 5, 2017, I served the foregoing document(s) described as DECLARATION OF
                      THE INDEPENDENT CC&B SYSTEM MONITOR IN SUPPORT OF PLAINTIFF'S
                    7
                      MOTION FOR FINAL APPROVAL on the interested parties in this action as follows:
                    8
                              BY ELECTRONIC SERVICE VIA FILE & SERVEXPRESS: In accordance with the
                    9 Court's Order Authorizing Electronic Service governing Case No. BC BC577267 and related matters
                      requiring all documents to be served upon interested parties via the File & ServeXpress Service
                   10 system.

                   11         I declare under penalty of perjury under the laws of the State of California that the above is
                      true and correct.
                   12
                              Executed on May 5, 2017 at Cleveland, Ohio.
                   13
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                               Exhibit 7
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         194B-LA-3082417
                            (U) Interview of PAUL BENDER (April 20,
Continuation of FD-302 of   2021)                                      , On   04/20/2021   , Page   13 of 14




         June 6, 2017 DWP Board Meeting [05:20:00]

         [05:25:00 to 05:44:00] [Agent’s Note: AUSA Mills showed BENDER a video clip
         from LADWP’s Board of Commissioner’s Meeting dated June 6, 2017. The clip
         was retrieved from section 22 (01:49:05) from the following website:
         https://ladwp.granicus.com/MediaPlayer.php?view_id=2&clip_id=972 ]

         Bender’s Reaction to June 6, 2017 DWP Board Meeting [05:45:20]

            BENDER stated that there were “quite a few false statements” in the video
         from the Board Meeting and that BENDER has “never seen anything like this in
           Case
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         194B-LA-3082417
                            (U) Interview of PAUL BENDER (April 20,
Continuation of FD-302 of   2021)                                      , On   04/20/2021   , Page   14 of 14



         my life.” BENDER said, “there was no need for this contract to do what he
         [WRIGHT] said.” WRIGHT’s presentation was “just not true – the system was
         working perfectly fine.” It was “incomprehensible” that WRIGHT would “go to
         a no-bid $30 million contract.” It was a “lie” when WRIGHT referenced that
         LADWP would not meet the three year remediation process. BENDER had never
         seen that LADWP had “negotiated a three year time-frame.”

            The statement about LADWP being “grossly understaffed” from the “5/5/17
         Signed Declaration” was not “carte blanche to just go hire $30 million worth
         of people.” BENDER did not know why no one asked him (BENDER) about this.
         The statement in the video from the Board Meeting that “if we don’t do this
         the disaster will be even greater” was “just not true” according to BENDER.

            In reference to the ratepayer lawsuit, BENDER stated “this was a
         settlement… to make some attorneys rich” and customers benefited to a very
         small degree.

            In regards to the no-bid contract, BENDER stated “this Board is
         negligent.” BENDER was “very upset” that his declaration was used for the
         contract. WRIGHT never asked any questions to BENDER about the contract.
         MEL LEVINE and BILL FUNDERBURK never contacted BENDER to ask any questions;
         BENDER never heard of FUNDERBURK before. WRIGHT “intentionally did not ask”
         BENDER about issues surrounding the contract. If BENDER had known about the
         issues surrounding the contract back in 2017, BENDER “would have exposed it
         – period.” BENDER does not “associate with this kind of process.”

            To justify a $30 million no-bid contract should require a “big
         emergency.” Here, BENDER stated, “there was no emergency – period. There
         was no need for this contract.” Additionally, BENDER said that “any
         services that are provided under here could easily have been provided by
         Oracle.”

               BENDER’s last contact with PARADIS was in April or May of 2019.
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                               Exhibit 8
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                               Exhibit 9
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                              Exhibit 10
              [A/V Clip Lodged Manually]
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                              Exhibit 11
              [A/V Clip Lodged Manually]
